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780.        D efendant,the occupantofthe O ffice ofCEO and PRESID EN T of

AURORA knows,orshould know,REM IC isaPhantom-Entity,aforeign @ ew York)
Unregistered lnvestm entCompany atalltim esrelevant;

781.       D efendant,the occupantofthe Office ofCEO and PRESIDEN T of

A U R O R A know s,orshould know ,REW C as an U nregistered Investm entCom pany is

precluded from conducting any typeofbusiness(buying,selling,trading ormodifying
M ortgages),butmay liquidateitsholdingsinthenormalcourseofbusiness,(i.e.by
divesting itselfofan insureddefaulted M ortgage-NoTE,forletssayTen ($10.00:.
782.       Defendant,the occupantofthe OfficeofCEO and PRESIDEN T of

A U R O R A know sor should know looking atthe N O TE ,LEH M AN B RO TM R S

HOLDINGS INC isthe lastknown H older-in-Due-courseofPetitioner'sProm issory-

NOTE,by Special-lndorsem ent;com esnow ,

783.       AURORA'Sauthorized agentKahrlW utscherLLP,alaw Firm ,(miss-)
informingPetitionernow 66...thecurrentownerofthedebtis:f.FNM AN
BROTHERS HOLDINGS INC ''(ExtrinsicFraud andM ailFraud)
784.       D efendantsAUROM ,and LEHM AN BROTHERS HOLDING S INC are

in Privity underthe TRU ST A G REEM EN T;and,

785.       D efendantsAUROR A,and LEHM AN BROTIIERS HOLD INGS INC are

in Privity underthe SERVICING AGREEM ENT;and,




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786.         D efendantAU RORA wasawholly ow ned subsidiary ofLEHM AN

BROTX RS BANK FSB,the child to LEHM AN BROTHERS HOLDING S INC.

787.         Servicing-Rightsheld by AUROM          iscontrolled by LEHM AN

BRO THERS H OLDm GS IN C, asofN ovember15th2006, thisinform ation isnot

disclosed in the N O TICE OF A SSIG N W N T SALE OR TR AN SFER OF SER V ICIN G

RIGHTS tçExhibitF''butfound reading the SERV ICING AGREEW N T,filed with

the Secttrities and Exchange C om m ission;

788.        D efendantLEHM AN BROTHERS H OLD IN GS 1N C did notinform

PetitionerofachangeofCreditorasrequired underFlorida1aw 9559.715;
789.        D efendantLEH M AN BRO TH ER S B AN K FSB is a Straw m an,N om inal-

Lenderin nam e only,ab initio'
                             ,

790.        DefendantSTRU CTURED A SSET SECURITIES CORPOM TION did

acquireTrust-certificatesin exchange forPetitioner'sW et-M ortgage-Loan;however,

791.        D efendantSTRU CTURED ASSET SECURITIES CORPORATION did

notconvey Petitioner'sN O TE to the Trust,asrequired;because,

792.        D efendantSTRU C TURED A SSET SEC UR ITIES CO R PO M TION ,the

securitization arm ofLEHM AN BROTHERS HOLDING S IN C,did notreceive

Petitioner's C losing-D ocum ents from itsParent;




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793.        D efendantLEHM AN BROTHERS HOLD m GS INC m ay stillbein

possession ofPetitioner'sNOTE,butisnotthe person entitled to enforcetheNO TE.

SeeUCC jj3-306and9-315(a)(2).
794.        D efendantSTRUCTURED ASSET SECURITIES CORPOM TION

petitioned forB ankruptcy protection February 9,2009.

795.        Sir atoriesto the Controlling-D ocum ents in relation to thisForeign-

U c egistered-lnvestm ent-com pany,titled LEHM AN X S TRU ST M O R TG A G E PA SS-

THR OU GH CERTIFICAW S,SERIES 2006-11are allbanknmt,exceptAUROR A,the

Servicer,w ith Superior-Knowledge knowsthisto be true.

796.        D efendantsAUROR A and theoccupantofthe Offce ofCEO and

PM SIDEN T ofAURORA using Superior-c owledgehavedevised aschem e whereby

AUROR A can accum ulate real-estate,legally registered to aN on-party-Beneficiary

(i.e.Trust-certitkate-llolder,by andtlzroughtheDTC),whereby AURORA knowssaid
Non-partp Benetk iary lacksthe legalcapacity to m ake a Claim ;as,

797.        Trust-certitk ate-llolder'srightsisanalogousto pm chasing oranges

(Trust-certitk ates)9om thesupermarket(DTC),doesnotgivetheconsumer(Trust-
Certifkate-Holder)anyrightstotheorangetree@ OTEs);seeççExhibitQ''hereto
attached;also,

798.        N on-partp Beneficiary,Trust-certiticate-Holder,lacksthe legalcapacity

toAssign/Convey /M odifyPetitioner'sNOTE;seeççExhibitQ''hereto attached;or,


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799.           Trusta/k/a REM IC no longerexists;so,

800.           D efendantAU RORA m akesaClaim knowing there can notbe a

com peting C laim .

801.           D efendant,theoccupantofthe Offce ofCEO and PRESID EN T of

AURORA using Superior-Knowledgehasdevised a schem e whereby A UROR A can

accum ulatereal-estate,situated like Petitioner'sand otherAm ericanssim ilarly situated,

in w hich A U R O R A has no legalor equitable interest,otherthan the Servicing rightsof

said debt,now willbecome the Beneficiary to said debtby a constructive deception.

802.           Petitionerholdsindisputable Veritied evidence showing Petitioner's

N O TE w asnegotiated num eroustim es,by variousparties and the only m ention of

AURORA in theseControlling-Docum entsisin contextofa Servicerofthisalleged

debt;tm til,

803.           D efendantsTHEODORE SCHULTZ,and JOAN N REIN ,em ployeesof

AURORA and alleged Certifying O ffk ersofG RS* nom inee ofLEFIM AN

BROTHERS BANK FSB asAssignor,colorably Assigned Petitioner'sdebtto AURORA

constm ctively,did do so tw ice;

804.           THEOD ORE SCHULTZ and JOANN REm both acted outsideoftheir

authorized capacity,did so severally,did do so in an attem ptto com m itseparate actsof

Larceny againstPetitioner;




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805.          TH EOD ORE SCHULTZ and JOAN N REm fabricated colorable legal

looking documents,crgo,intentionallym isdirectedthejusticesystem inorderto
facilitate ill-gotten-gain;

806.         D efendantsTIIEODORE SCHU LTZ orJOANN REIN,alleged Certifying

O fticersofM ERS* co1orably assigned Petitioner'sdebtto AUROR A without

explanation asto w here,w hen orw ho they acquired said debtfrom ,as M ER S* is nota

party to Petitioner'sN ote and the record isbarren ofany representation thatM ER S*

had any authoritytotakeany actionwith respecttoPetitioner'sNotels).
807.         DefendantM ERS* orM ERSCORP have been in theprivateregistration

business actively since 1995 recording negotiated Titles betw een it's M em bers;and,

808.         D efendantAU ROR A in the Servicing businesssince 1997,ergo Petitioner

tindsithard to believe theseD efendantsM ERS*,M ERSCORP orAU RORA etal.,

transferred aphantom N OTE by m istake,twice,orthatthesetypesofincidents arenot

the norm ,m odus operandi;as,

809.         M ERSCORP know sM ERS*can notsetoverabeneficialinterestin the

StateofFlorida,butcontinuesto do so asseen herein,intentionally ignoring allFlorida

caselaw onthissubjectmatter,andisjustasapplicablein many otherjudicialstates;
810.         The Suprem e Courtfotm d thatthe Petitioner in a civilR .I.C .O .action need

establish only a crim inalççviolation''and notacrim inalconviction'
                                                                  ,further,




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811.         The Suprem e Courtheld thattheDefendantneed only have caused harm to

the Petitioner,and other Am ericans sim ilarly sim ated by the com m ission ofa predicate

offensein such away asto constituteaG*
                                     pattern ofRacketeering activity.''
812.         Thatis,thePetitionerorotherAm ericanssim ilarly situated need not

dem onstrate thatthe D efendantis an organized crim e figtlre,a m obsterin the popular

sense,orthattheinjured partysuffered sometypeofspecialRacketeering injury;
813.         allthattheinjured partymustshow iswhattheStatutespecifically
requires.TheR.I.C.O .Statute and thecivilrem ediesforitsviolation areto be liberally

construed to affectthe congressionalpum oseasbroadly form ulated in the Statute.

Sedima.SPRL v.Im rex Co.,473 US 479(1985).
814.         DefendantsTHEODORE SCHU LTZ orJOAN N REIN ,alleged Certifying

O fficers ofM ER S* colorably assigned Petitioner'sM ortgage-N o 'rE w ithoutthe legal

capacity to do so;did do sotwo yearsafter,

815.        D efendantLEHM AN BR O TH ER S BA N K FSB by Special-lndorsem ent

negotiated Petitioner'sW et-prom issorp N oTE,with allitsright,title and interest

therein to LEHM AN BROTHERS HOLD W G S IN C,asa true sale;

816.         D efendant,the occupantofthe O ffice ofCEO and PR ESID EN T of

A U RO R A know sPetitioner's m onthly M ortgage paym entsreceived by A U RO R A,paid

outby A U RO M ,is notpaid outto LEHM AN BR O TH ER S BA N K FSB ;ergo,




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817.         occupantofthe Office ofCEO and PRESIDENT ofAUROR A know s

LEHM AN BROTHERS BANK FSB hold neitherlaw ful,legalnorequitable interestin

said debt,and perhapsthe debtofotherA m ericans sim ilarly sim ated;

818.         D efendantA U R O R A etal.,is attem pting to perm anently deprive

Petitionerofproperty,by constructing a Fraud,an illegaltnking,forits ow n use and

benefit,done knowingly and isan ongoing corruptbusinesspractice,done in the norm al

course ofitseveryday businesspractices;

819.         D efendantsA U R O R A ,and the occupantofthe O ffice ofCEO and

PM SID EN T ofA U R O R A ,G R SCO RP,G R S*5 LEH M AN BR O M             R S BAN K

FSB,LEHM AN BROTHERS HOLD INGS IN C,THEOD ORE SCHU LTZ,and

JOANN ltElN havejointly conspiredwith each otherin wholeorpartto commit
Larceny,by fabricating evidenceto m ake AURORA appearastheReal-party-in-

lnterest/H older-in-œ e-course,when they knew ,orshould haveknown,AUROR A

w asneverthe Real-party-in-lnterest,asthere isno credible evidence to the contrary.

820.        DEFENDAN T etal.,a1lstand-by and know ,Petitioner'sforeclosure,and

otherAm ericanssim ilarly situated are fraudulentin theirnature,supra,butstand silent

in condolence,overa system in theircarecustody and control,underthecorporate veil

ofM ERSCORP,which D EFEN DAN T eithercreated,supportfinancially oremploy,

thusm aking D EFEN D A N T co-conspirator,liable as a facilitator ofsaid Fraudulent

behavior,facilitatorofLarceny on a grand scale.



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      821.        DefendantsAURORA orthe occupantofthe Office ofCEO and

      PRESIDEN T ofAURORA isemploying the artifice ofM ERS* theiremployeesm ixed

      with Superior-Knowledgetom anipulatetheCourtsystem,usingin-house(out-sourced)
      îabçicatedprimafascia evidencetoacquireill-gotten-gain;which,
      822.        createsand presents a substantialand specific dangerto the public'shealth,

      safety,orwelfareofoverninetypercent(90%)ofAmericansforcedinto foreclosureby
      the ServicerA U R O R A ,A m ericans w ho are un-represented,under-represented,orchose

      to abandon theirproperty due to AURORA'SSuperior-c ow ledgeand ftm ding,ergo

      AUROM     and alikeBanking lnstim tionslike LEIIM AN BROTHERS BAN K FSB is

      preying upon the w eak and tm -inform ed;therefore,

      823.         Petitionerim plicates U .S.B AN K CO RP as TR U STEE,successor in

      interestto LA SA LLE BA N K N A TION A L A SSO CIA TION ,for tum ing a blind eye

      toward theFraud by tacitProcuration,when ithasaduty to speak.



W H E R E FO R E ,PR EM ISE S C O N SID ER ED ;Petitionerdirectsthis Courtforentry of

     judgmentagainstDEFENDANT,AURORA with theimputedknowledgeofthe
      occupantofthe Office ofCEO and PRESIDENT ofAUROR A,w ith the im puted

      knOW ledge ofM ER SC O RP,M ER S*, LEHM AN B RO THER S B AN K FSB ,

      TX ODORE SCHU LTZ,JOAN N lkEm and U .S.BANK CORP asTRU STEE,

      successorin interesttoLASALLE BANK NATIONAL ASSOCIATION jointly or


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severally forCivilConspiracy,to com m itGrand Larceny ofoverThree-Hundred

($300.00);GndingintheAffrmative,in wholeorpart,disgorgetheseDEFENDANT'S
ofal1ill-gotten-gain whereby AU ROR A hastaken property from Borrowerevidenced

by an A ssignm ent9om M ER S* asN om inee forLEH M AN B RO THE R S B AN K FSB

afterSeptem ber l5th 2008 and up to a yeax prior, includeBorrow erwho issim ilarly

situated;award Borrowerdam ages,along w ith costsand fees, in an am ountTrieroffact

deemsisjustand fair,determined atTrial.
                                  CO UNT XIII.
                      D OU BLE DIPPIN G O R STELLIO NA TE


824.         Petitionerre-alleges and affrm seach and every preceding paragraph of

thisComplaintand incop orate sam ehere asifalleged anew     .




825.        D efendantsAUROM and theoccupantoftheO ffk e ofCEO and

PRESIDEN T ofAUROM ,W RSCORP,M ERS* LEHM AN BROTHERS BAN K

FSB,know ,orshould know ,pursuanttothe Controlling-Docum entsPetitioner's

M ortgage-N oW ,and otherssim ilarly situated,Registered-llolderisLE             XS

TRU ST M ORTGAGE PA SS-THROUGH CERTIFICATES,SERIES 2006-11, held as

collateralized interestin M ortgage Backed Securities;whereby,

826.        D efendantSTRUCTURED ASSET SECURITIES CORPOM TION

constructively hypothecated Petitioner'sdebt,and otherssim ilarly sim ated, in

consideration forTrust-certificates,sold by and through the DTC to investors;but,



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827.         D efendantSTR U CT UR ED A SSET SECU R ITIES CO RPO M TIO N did not

deliverPetitioner'sClosing-Docum ents,and some ofthe otherssim ilarly situated to the

Trustee ofLEHM AN X S TRUST M ORTG AGE PASS-THROU GH CERTIFICATES,

SERIES 2006-11,pursuantto atçscreen-shot''ofthe Trust,discovered by Petitioner,held

in Petitioner's care custody and control;as,

828.         Screen-shotrevealsD efendantLEI'
                                            IM AN BROTHERS HOLD INGS INC

did notdeliverPetitioner'sClosing-Docum ents,and som eotherssim ilarly situated,to

STRU CTURED A SSET SECURITIES CORPOM TION ,presumptively,oratleast

Petitionercould nottsnd any evidenceto the contrary;

829.        D efendantLEI'IM A N BR O THER S BA N K FSB as ttœ iginator,''

LEIIM AN BRO TX RS H OLD ING S INC astiseller,orSponsor''underthe TRU ST

AGREEM EN T,did constructively setoverPetitioner'sN OTE,and theNO W Sofothers

sim ilarly situated msatrue sale,with a11ofSeller'sright,titleand interestthereto

STRU CTLTRED A SSET SECURITIES CORPOM TION July 2006;thereaAer,

830.        STRU CTU RED A SSET SECURITIES CORPOM TION in exchangefor

D TC held Trust-certiticatesw asto deliverPetitioner'sM ortgage-Loan-files,and the

N o'l'
     Esofotherssim ilarly situated,to LEHM AN XS TRU ST M ORTGAGE PA SS-

THROU GH CERTIFICATES,SERIES 2006-11'sTrustee,in trustfortheTrust-

Certitk ate-llolder,held in the nam e ofCEDE & Co asN om inee fortheDTC;




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   831.           V erified Controlling-Docum entsfiled w ith the Securitiesand Exchange

   Comm ission m akesitclearLEHM AN BROTHERS BAN K FSB,LEHM AN

   BRO THERS HOLDINGS INC and STRU CTURED A SSET SECURITIES

   CORPORATION constnlctively sold,asatrue sale,allright,title and interestonceheld

   to a third party;and,

   832.           any attem ptby eitherLEHM AN BROTHERS BANK FSB,LEHM AN

   BROTHERS HOLDING S INC orSTRUCTURED A SSET SECURITIES

   CORPOR ATION to collecton thisalleged debt,in reference to Petitioner'sM ortgage-

   N OTE,and otherssim ilarly situated asecond tim e isDouble-Dipping,orStellionation.

   833.           AURORA (Servicer)appearingin Courtacting astheReal-partp in-
   lnterest/Holder-in-œ e-course,undercorporatecontrolofLE                 BROTHERS

   HOLDINGS INC,(originalSeller,orSponsor),LEHM AN BROTHERSBANK FSB,
   (originalLender)premisesconsidered,isclearly an attemptatDouble-Dipping,or
    Stellionation.



W H EREFO R E,PR EM ISES CO NSIDERED ;PetitionerdirectsthisCourtforentry of

   judgmentagainstAURORA,theoccupantoftheOftk eofCEO and PRESIDENT of
    AUROM     ,   A U RO R A B AN K F SB ,M ERSCORP,< RS*,TIIEODORE SCHU LTZ ,

    JOANN REIN ,LEHM AN BRO THERS BAN K FSB,and LEHM AN BROTHERS

    HOLD INGS INC forattempted D ouble-D ipping,orStellionation;fnding in the



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A ffirm ative,in w hole orpart;aw ard Petitioner,and otherA m ericans sim ilarly sim ated

specialdam ages,O rderA U R O R A to return a11the rentpaym ents collected to D onor,or

Heiroftheestate,withcostsand fees,in an nmountTrieroffactdeemsisjustand fair,
determ ined atTrial.



                                CO UNT M V .
                                  U SU R Y


834.         Petitionerre-allegesand aftirm seach and every preceding parav aph of

this Com plaintand incom orate sam e here asifalleged anew .

835.         UnderthelegaltheoryoflexAnastasiana#J<#,AURORA foundtobea
Third-party-D ebt-collector,w hich itis adm ittedly,is notentitled to dem and nor expect

any m ore than the consideration paid in exchange for Petitioner's tm sectlred debt,plus

usualand custom ary interest;

836.         Assignm entproduced by DefendantAUROR A astçExhibitA''discloses

AURORA,asAssigneeallegedly paid G...thesum Of TEN ($10.00)DOLLARS and
othergood and valuableconsiderationn''forPetitioner'sunsecured debt,in CaseN O.

07-80998-C1V -RY SK A*      /VITUNA C;and then in,

837.         CaseNO.09-CA-017057,again allegedly paid éç...thesum Of TEN
($10.00)DOLLARS andothergood and valuableconsideration.''




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838.        DefendantAURORA dem andingmorethan One-80/100 ($1.80)in interest
peryear(notknowing whatothergood andvaluableconsideration is)isUsurious;see
Section 687.03 Fla.Stat.

839.        DefendantAUROM demanding morethan Two-50/100 ($2.50)in
interest,butlessthatlFom=50/100($4.50)interestperyear(notknowing whatother
goodandvaluableconsideration is)isUsm ious;seeSection 687.071Fla.Stat.;
840.        DefendantAUROM demandingmorethan Four-50/100 ($4.50)in
interestperyearwhetherdirectly orindirectly orconspire so to do,comm its afelony of

the third degree,ptm ishable as provided in s.775.082,s.775.083,or s.775.084;

841.        687.071 C rim inalusury

            (5) Booksofaccountorotherdocllmentsrecording extensionsofcredit
            inviolation ofsubsections(3)or(4)aredeclaredtobecontraband,and
            any person,otherthan apublicofficerin theperform ance ofhisorher
            dutp andotherthanthepersonchargedsuchusuriousinterestandperson
            actlngonhisorherbehalf,whoshallknowinglyandwillfulllpossessor
            m aintain such booksofaccountor otherdocum ents,orconsplre so to do,
            comm itsa m isdemeanorofthe tirstdegree,punishable asprovided in
            s.775.082 ors.775.083.

            (6) Noperson shallbeexcused from attendingandtestifying orproducing
            any books,paper,orotherdocumentbeforeany courtupon any
            investigation,proceeding,ortrial,forany violation ofthissection upon the
            grotm d orforthe reason thatthetestim ony orevidence,docum entary or
            otherwise,required oftheperson m ay tend to convicthim orherofa crim e
           orsubjecttheperson toapenalty orforfeiture,butno person shallbe
           prosecutedorsubjected toany penalty orforfeiturefororon accountof
            any transaction,m atter,orthing concem ing which heorshem ay so testify
            orproduce evidence,docum entary orotherw ise,and no testim ony so given
            orproduced shallbereceived againstthe person upon any crim inal
            investigation or proceeding.


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            (7) No extension ofcreditmadein violation ofany oftheprovisionsof
            thissection shallbean enforceabledebtin the courtsofthisstate.



842.        AURORA appeared in Courtseeking to foreclose on whatAURORA

believesthe Courtwillperceive isa Secured-Debt,face value Six-llundred-Fiftp

Thousand ($650,000.00),orPetitionershallpayFour-Thousand-Two-llundred
($4,200.00)permonth (approximately),principaland interest,forthirty years,which
comesto asum totalofEil t-Hunf ed-Eil l-seven-Thousr d-Two-Hu dred-Eleven
62/100 ($887,211.62)in interestalone(approximately),in exchangeforTEN ($10.00)
in FederalR eserve N otes,notD O L LA R S as alleged;how ever,



843.        Law dictatesPetitioner'salleged debtistm secured atbest,considering

A UR O R A breaking the Chain-of-Title supra;see U CC 3-201,3-204,3-302 and,



844.        PetitionermaybeliabletoAURORA forTen ($10.00)and othergoodand
valuableconsideration,(if,itcanbeshownpurchaseortransaction actually occurred,
notjustamerewrittenrecitalofsame)plusnormalandcustomary interestuponproof
ofits Claim ,w hich A UR O R A to date w illnotproduce,orcan notproduce,aftera

form alwritten requestto do so.




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W H ER EFORE,PR EM ISES CO N SIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOffkeofCEO andPRESIDENT
     ofAURORA,forconspiring to chargePetitionera U suriousinterest,and other

     A m ericans sim ilarly situated,ata rate considered to be greaterthan tw ice the U surious

     levelaspermitted by law ,whetherdirectly orindirectly conspired so to do,com m itted a

     feloniousactofthethird degree,punishable asprovided in s.775.082,s.775.083,ors.

     775.084;finding in theA ffrm ative,in whole orparq declare Petitioner'sdebt

     unenforceable,and the debtofotherssim ilarly situated;aw ard Borrow erapenalty

     againstA U R O R A ,the sum ofdouble the am ountofinterestactually reserved or

     collected,see Section 687.04 Fla.Stat.;OrderAU ROR A to return a11the rentpaym ents

     collected to Donor,orHeirofthe estate,w ith costsand fees,in an am ountTrieroffact

     deemsisjustandfair,determined atTrial.




                                    Ilntentionallyleftblankl

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                                    COIJNT XV.
                            C O N STR U C TIV E FR AU D


845.        Petitionerre-allegesand affirm seach and every preceding paragraph of

thisC om plaintand incom orate sam e here asifalleged anew .

846.        D efendantAU RO R A alleged itacquired Petitioner's Six-llundred-Fifty-

Thousand ($650,000.00)debtin exchangeforTen ($10.00),lessthan reasonable
equivalentvalue;seeççExhibitA''attached thereto;

847.        D ebtorLEIIM AN BROTHERS BAN K FSB filed forBanknzptcy

protection two m onthsafterthisfirstaforem entioned negotiation allegedly occurred;

848.        D efendantLEHM AN BROTHERS BAN K FSB atthe tim eofthis

negotiation isunableto pay itsdebts,was insolventbutwascontinuing in operation;

849.        A lleged negotiation ofPetitioner'sN O TE w asnotm ade in good faith in

the ordinary courseofbusinessby partiesofindependentinterests;as,

850.        D efendantAUROM       isan insider;

851.        Defendant,occupantofthe Office ofCEO and PRESIDEU           ofAU ROR A

knew ,orshould haveknown the Assignm entexecuted by itsem ployee JOA NN ltEm

in exchangeforTen ($10.00),donebetweentwopartiesthathaveaspecialworking
relationship (employerandemployee),isaConstructiveFraud;as,
852.         JOAN N REm m ay notbe aCertifying OfficerofM ERS*,evidenced by the

obviousabsence ofM ERS* corporate seal,on the dateofexecution.


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W H EREFO RE,PREM ISES CO NSID ERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO andPRESIDENT
     ofAUROM , W RSCORP,M ERSO,LEHM AN BROTHERS BANK FSB , and

     JOANN REIN jointly orseverally forConstructiveFraudagainstBorrower,and other
     A mericanssim ilarly sittlated;finding in theAffirm ative,in whole orparq award

     Petitioner,and the otherssim ilarly sim ated facevalueofthe NOTE in treble,Order

     A U R O R A to return a11the rentpaym entscollected to D onor,orH eirofthe estate,w ith

     costsand fees,in an amountTrieroffad deemsisjustand fair,determined atTrial.




                                   Ilntentionally Ieftblankl
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                                    C O IJN T X W .
                             C O N STR U C T W E FR AU D



853.         Petitionerre-allegesand affirm seach and every preceding paragraph of

thisComplaintand incorporate snm ehereasifalleged anew .

854.         D efendantA URORA alleged itacquired Petitioner'sSix-l-lundred-Fiftp

Thousand ($650,000.00)debtin exchangeforTen ($10.00),lessthanreasonable
equivalentvalue;see çtExhibitH '';

855.         D ebtorLEHM AN BR O TH ER S BA N K FSB is in the m idstofa

B ankruptcy contem poraneously w ith said negotiation;and,

856.         D efendantLEH M AN BR OTH ER S BA N K FSB is insolvent,unable to pay

its debts;

857.         Alleged transaction wasnotm ade in good faith in theordinary course of

business-
        ,

858.         Alleged transaction wasnotmade in good faith by partiesofindependent

interests-
         ,as,

859.         D efendantA U RO R A is an insider;

860.         Defendant,occupantofthe Office ofCEO and PRESIDENT ofAURORA

knew,orshould have known theA ssignm entexecuted by itsemployee,THEOD OR

SCIIULTZ wearing aM ERS*hat,forTen ($10.00),donebetweentwopartiesthathave



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      aspecialworking relationship (employerand employee),executed contemporaneously
      am idsta Bankruptcy proceeding againsttheA ssignor,isConstructiveFraud.




W H ER EFO R E,PR E M ISE S C O N SID ER ED ;Petitionerdirects this Courtforentry of

     judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO andPRESIDENT
      ofA U R O R A , G R SCO RP,M ER S*,LEHM AN BR O M        R S BA N K FSB , and

      THEODORE SCHULTZ jointlyorseverally forConstmctiveFraudagainstPetitioner,
      and otherAm ericanssim ilarly situated;finding in the Affrmative,in wholeorpart,

     award Petitioner,and otherssim ilarly situated face value oftheN OTE in treble,Order

     AUR ORA to return allthe rentpaym entscollected to Donor,orHeirofthe estate,w ith

     costsand fees,in annmotmtTrieroffactdeemsisjustand fair,determinedatTrial.




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                                    C O U N T X V II.
                                      FO R G ER Y

861.        Petitionerre-allegesand affirm seach and every preceding paragraph of

thisComplaintand incop orate snm ehereasifalleged anew .


862.         831.01 Forgery.
            W hoeverfalsely m akes,alters,forgesorcounterfeitsapublicrecord,
            ora certificate,rettu.n orattestation ofany clerk orregisterofa courq
            publicregister,notary public,town clerk orany public officer,in
            relation to a m atter w herein such certificate,return orattestation m ay
            be received asa legalproof;oracharter,deed,will,testam ent,bond,
            orwriting obligatory,letterofattom ey,policy ofinsurance,billof
            lading,billof exchange orprom issory note,or an order,acquittance,
            ordischarge form oney orotherproperty,oran acceptance ofabillof
            exchange orprom issory note forthepaym entofm oney,orany receipt
            form oney,goods orotherproperty,orany passage ticket,pass or
            otherevidence oftransportation issued by a com mon carrier,with
            intentto injureordegaud anyperson,shallbeguilty ofafelonyofthe
            third degree,punishable as provided in s.775.082,s.775.083,or s.
            775.084.



863.        The assignm entexecuted by D efendantJOAN N REIN,atthedirection of

A u lto ltA July 9th2008,asvice PresidentofeitherM FR S',orA UROR A, assigning

Petitioner'sM ortgage and N O TE,thereafterrecorded sam e w ith the Public's Registrar

ofDeedsin Palm Beach Cotmty,isaForgery,known to be aForgery atthetim e of

execution,orshould have known wasa Forgery;

864.        A ssignm entisreceived by Public'sR egistrarofD eedsas legalproof,

attestation executed underseal,intended to show beneticialinterestin Petitioner's

property;

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     865.         A ssignm entfabricated from w hole c10th w asdone w ith the intentto seize

     Petitioner'sproperty,using thefullforceand effectofthejusticesystem;whereby,
     866.         AssignorLEI'IM AN BROTHERSBANK FSB primafascia setoverallits
     right,title and interest,ab initio,to LE       BR O TFIER S H O LD IN G S IN C ;

     867.         two yearslaterthissam e aforem entioned NOTE isbeing re-Assigned to

     A U R OM ,from LEH M AN BR O THER S BA N K FSB ,said A ssignm entis a forgery;

     868.         Seethe Special-lndorsem entfound on the alleged N OTE in question,

     tsExhibitZ,''hereto attached.


W H EREFO RE,PREM ISES CON SIDERED;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,with imputedknowledgeoftheoccupantoftheOfGceof
     CEO andPRESIDENT ofAUROM atalltimerelevant,andJOANN REIN,jointly or
     severally forForgery,felony ofthethird degree;award Petitioneran Orderagainst

     AURORA and asptmishmentpayPetitionerFive-n ousand ($5,000.00)orSix-
    Htmdred-FiAy--fhousand($650,000.00)timestwo;also payotherBorrowersimilarly
     situated Five-Thousand($5,000.00)ortimestwothevalueoftheirrespectiveNOTE;
     Orderrem ovalofa1lAssignm entsfound in thepublic record associated w ith

    Petitioner'sM ortgage-N o'rE and theN OTE ofotherAm ericanssim ilarly situated,in

    which AU RORA caused to be executed,subsequently recorded afterSeptember15th

     2008,with costsandfees,in an amountTrieroffactdeemsisjustand fair,determined
     atTrial.


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                                   C O U N T X V H I.
                                     FO R G ER Y




869.        Petitionerre-allegesand affirm seach and every preceding paragraph of

thisCom plaintand incom orate sam e here msifalleged anew .

870.        Theassignm entexecuted by D efendantTHEODORE SCHU LTZ,atthe

direction ofA U R O R A June 8th2009, acting in the capacity asV ice PresidentofM ERS*

executed said A ssignm entofPetitioner's M ortgage and N O TE,thereafter recorded

sam ewith thePublic'sRegistrarofDeedsin Palm Beach County;

871.        Assignm entisreceived by Public'sRegistrarofDeedsaslegalproof,

attestation executed underseal,intended to show beneficialinterestin Petitioner's

property;

872.        A ssignm entfabricated from wholec10th w asdone with the intentto seize

Petitioner'sproperty usingthefullforceand effectofthejustice system;however,
873.        AssignorLEHM AN BROTHERS BANK FsB primafascia setovera1l
right,title and its interestto LEHM AN BR O TH ER S H O LD IN G S IN C ;

874.        threeyearslaterthissam eN OTE isbeing re-A ssigned fora third tim e

from LEIIM AN BROTHERS BAN K FSB,said A ssignm entisa forgery;

875.        see the Special-lndorsem entfound on the alleged N O TE,ûtExhibitZ,''

hereto attached,thisattached A ssignm entwmsoriginally presented by AURORA,asit's



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     Exhibitin C ase N O .09-CA -017057,re-presented by the now defunctLA W O FFICE

     O F D A V ID J.STERN P.A .etal.




W H EREFO RE,PREM ISES CON SIDER ED;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,with imputedknowledgeoftheoccupantoftheOftkeof
     CEO and PRESIDENT ofAURORA,andTHEODORE SCHULTZ,jointlyorseverally
     forForgery,felony ofthe third degree;award Petitioneran OrderagainstAIJRORA

     and aspunishm entpay PetitionerFive-rrhousand ($5,000.00)orSix-llundred-Fiftp
     Thousand($650,000.00)timestwo;alsopayotherBorrowersimilarly situated Five-
     Thousand ($5,000.00)ortimestwothevalueoftheirrespectiveNOTE;Orderremoval
     ofa1lAssignmentsfound in thepublic record associated with Petitioner'sM ortgage-

    N OTE and theNOTE ofotherAm ericanssim ilarly situated,in which AURORA caused

    to be executed,subsequently recorded afterSeptember15th2008,w ith costs and fees, in

     anam ountTrieroffactdeemsisjustandfair,determinedatTrial.




                               (lntentionallyleR blank)


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                                          C O U N T X IX .
                                           FO R G ER Y

     876.        Petitionerre-allegesand affirm seach and every preceding paragraph of

     thisComplaintand incorporate sam ehere asifalleged anew .

     877.        C opy ofa copy ofPetitioner'salleged Prom issory-N o W filed w ith the

     Clerk oftheCourtreceivedusprimafasciaevidence,certifiedtrueand exactcopy of
     Petitioner's genuineN O TE,isa Forgery,as A UR O R A confessed the genuine N O TE is

     m issing,lost,stolen or destroyed at,orbefore com m encem ent;furtherm ore,

     878.        AURORA'Sallegedcopy ofPetitioner'sgenuineNOTE containstwo (2)
     pagesnumbered three(3),onewith indorsementand onewithoutindorsement;
     879.         Petitionermaintainsboth thesepagesnumberedthree(3)ofthree(3)can
     notbe atnze and exactcopy ofthe genuineNOTE in question,isa gaudulentfactum ;

     see çtExhibitZ''hereto attached.


W H EREFOR E,PR EM ISES C ON SIDERED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,and theoccupantoftheOfficeofCEO andPRESIDENT
     ofAURORA jointly orseverally forForgery;award Petitioneran Orderagainst
     AURORA and aspunishmentpayPetitionerFive-n ousand ($5,000.00)orSix-
     Hundred-Fifty-Thousand($650,000.00)timestwo;OrderremovalofallAssignments
     associated with Petitioner'sM ortgage-N oW from thepublic record in which

     A U RO R A caused to be recorded,w ith costsand fees,in an am ountTrierof factdeem s

     isjustand fair,determined atTrial.
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                                     CO UNT XX.
                                     FO R G E R Y

880.        Petitionerre-allegesand affirm seach and every preceding paragraph of

this Com plaintand incom orate snm e here as ifalleged anew .

881.        Petitionerdid notknow atthe tim e,LEHM A N BR O TH ER S BA N K FSB 'S

transferofPetitioner'sN OTE occurred contemporaneously w ith theClosing,butrather

was(miss)informed,as,alunderstand 'AJ:theLendermay transferthisNote.''
M eans som ething otherthan,the N O TE isalready constm ctively transferred priorto,or

sim ultaneously w ith execution ofthe C losing docum ents;

882.        Petitionerdid notknow atthetim e,LEHM AN BROTHERS BANK FSB

converted Petitioner'sN O TE forits personaluse and benefit;

883.        Petitionerdid notknow LEHM AN B RO THER S BA N K FSB did notuse

any ofits ow n m oney,orits depositor's m oney to seize Petitioner's hom e

contem poraneously with the Closing;

884.        Petitionerdid notknow LEHM AN BROTHERS BAN K FSB created the

M oney-of-A ccotm tem ploying Petitioner's credit,w hich w as used to acquire possession

ofPetitioner'shom e contem poraneously with the Closing;

885.        Petitionerdid notknow atthattim e,nor inform ed aboutsecuritization of

Petitioner'sN O TE ;

886.        Petitionerwastricked into signing whatwasunderstood to be a M ortgage

and Prom issory-N oTE,asa Special-Deposit;whereas,


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887.         DefendantsLEHM AN BROTHERSBANK FSB joinedwithLEFIMAN
BR O TH ER S H OLD W G S IN C,STRUCTURED ASSET SECURITIES

CORPOM TION ,LEHM AN XS TRU ST M ORTGAGE PA SS-TG OUGH

CERTIFICATES SERIES 2006-11,A SSOCIATES LAND TITLE INC and M ERS*

form ulated a schem e whereby Petitionerwas steered into an lnvestm ent-contract,orat

leastPetitioner'sN OTE w asused to fund the lnvestm ent-contractschem e;

888.         Petitionerdid notknow the NOTE istreated the sam e asa security,see

Article58-102oftheUniform CommercialCode,definesafinancialasset,tomean a
security;

889.         Petitionerdid notknow atthetim e,thataAersigning theProm issory-

N O TE in favor ofLEHM AN BR O TH ER S BA N K FSB ,by Special-lndorsem ent

conveyed said Prom issorp N o TE, converting said N O TE into a com m ercialdraftby

indorsement,apay totheorderof'G*withoutrecourse''.SeeU.C.C.3-415;as,
890.         Petitionerdid notknow atthetim e Com m ercialdraftisaproductofDonor's

inancialasset,as inform ation or disclosure to snm e w as intentionally w ith-held;

891.         Petitionerdid notknow atthetim e,Donor'sfinancialassetisultim ately

hypothecated to the DTC,holding a secured interestin certain pooled NOTES;whereby,

892.         clustering D onor'sN O TE,and the N O TE ofotherA m ericanssim ilarly

situated create M ortgage-B acked Sectlrities;w hereby,

893.         clustering the M ortgage-Backed SecuritiescreateBON DS thereof.



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      894.        Petitionerw asunaw are ofthe aforem entioned m atrix incop orating

      Petitioner'sdebt,priorto oratClosing'
                                          ,as such,

      895.        allthe M ortgage docum ents executed in 2006 betw een Petitionerand

      LEHM AN BR O TH ER S BA N K FSB ,w hich includes the genuine N O TE w ith the once

      w etink signature ofsaid Petitionerisa Forgery;considering,

      896.        GJF# r#e@ iscommitted when a defendant,byfraud orfrfcker',causes
      anotherto executeadeedoftrustorotherdocum entwherethestknerisunaware,by
      reason ofsuch trickery,thatheiseœerv//ap a documentofthatnature-''(Peoplev.
      Parker (1967)255CaI.App.2d 664,672),
                                         .al'
                                            hecrimeofforgery iscompletewhen
      onemakesorpassesan incorrect% named instrumentwith intenttodefraud,
     prejudice,ordamage,andproofoflossordetrimentisimmaterial.''
      897.        A s,the true nature ofa transaction depends upon the intention ofthe parties.

      898.        DefendantLEHM AN BROTHERS BANK FSB m em orialized itstrue

      intentionsreading theverified TRU ST A GREEM ENT,on Gle with the Securitiesand

      Exchange Com m ission,executed beforePetitioner'sdebtbecam e aneed.


W H ER E FO R E,PR EM ISE S C O N SID ER E D ,Petitioner directsthis Courtfor entry of

     judgmentagainsttheDefendantLEHM AN BROTHERSBANK FSB orASSOCIATES
      LAN D TITLE IN C,forForgery;award Petitionerreturn oftheM ortgage-N o'l'E,and

      actin accord with otherAm ericanssim ilarly sim ated,pluscostsand fees,in an am ount

      Trieroffactdeemsisjustand fair,determinedatTrial.

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                                   C O U N T u I.
        V IO LA T IO N O F FA IR D E BT C O LL EC T IO N PM C T IC E S A C T



899.         Petitionerre-alleges and am rm seach and every preceding paragraph of

thisCom plaintand incorporate sam e here asifalleged anew .

900.         D efendantAURORA failed to send a written debtvalidation notice w ithin

five daysof AU R O R A 'S initialcom m unication w ith Petitioner as Borrow er,and

AURORA asThird-party-D ebt-collector,dem anding paym entafterLEIIM AN

BROTHERS BAN K FSB filed forBankruptcy protection Septem ber 15th2008;or,

901.        Receiversare appointed by courtorderto wind up and liquidate

businesses.j608.4492;j617.1432;and j607.1432Fla.Stat.(2009))seealso j28
U .S.C.754 (2009),Ha/icv.Henderson Nat.Bank 657F.2d 816,822(6th Cir.
1981);ZvlidwestSav.Assçn v.RiverbendAssociates.724F.Supp.661,661
(D.M inn,1989).
902.        Appointmentofareceiverputsal1theproperty subjecttothereceivership
inthecustody ofthecourt.SeeR.Clark,Clark on Receiversj36 (1959),(receiveris
an arm oradministering hand ofthecourt);AtlanticTrustCo.v.Chapmam 208U.S.
360,372 (1908)(receiverisoffkerofcourq and itspropertyisin custodia legis);
Brunswick Corp.v.J & F.lnm,424 F.2d 100,103(10th Cir.1970)(property in
custodia Iegisarethesameasifactualpossession iswith an oftk erofthecourt).Any



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interference with the receiver'sfunctionsispunishable by contempt.See,e.g.,Clear

Creek Power& DevelopmentCo.v.Cutler.79 Cob.355,245P.939 (1926).
903.        DefendantAURORA isaThird-partp D ebt-collectorin referenceto

JudicialTrustee;OK
904.        D efendantAURORA failed to send a written debtvalidation noticew ithin

five days ofA U R O R A 'S initialcom m unication w ith Petitioner as Borrow er,and

A UROM     asThird-partp D ebt-collector,dem anding paym entafterLEHM AN

BRO THER S BAN K FSB,negotiated thedebtwith LEHM AN BROTHERS

HOLDING S IN C.

905.         Petitioneron orshortly afterApril17th2008 m ailed to AURORA a request

forV alidation,underTitle 15 U .S.C.1692g,Section 809,byw ay ofa C ertified Letter

Retlm a-Receipt-Requested;

906.         D efendantAUROR A eitherrefused,orwasunable to validate the alleged

debtby ignoring therequest;thereafter,

907.         DefendantAURORA continued calling Petitionerw ith autom ated debt

collection typecalls,in violationof15U.S.C.1692g,j809(b);
908.         Telephonecallsw erem adefrom 2008 through and including callsm ade

w ithin the year2011.

909.         Petitionerinformed thecallerts)ofviolationsarising from said debt
collection callsthirtp one(31)daysfrom receiptofrequestforValidation;however,


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910.         DefendantAUROR A'SThird-party-D ebt-collectorsinform ed Petitionerno

such communicationwason record(tobefotmdon theircomputer'sterminalscreen).
911.        Petitionerm ailed a second requestforValidation and aDo N otCallLetter

on July22nd2008,pre-complaint(lisPendens);seettExhibitP'',attachedheretoand
incorporated herein by reference;

912.        D efendantA URORA eitherrefused,orwasunableto validate the alleged

debtby ignoring therequest,butcontinued to m ake autom ated collection type calls;

913.        since M ay 18th2008 through M ay 201lPetitionerhasreceived num erous

telephonecollection type auto-dialed callsfrom AURORA;

914.        said telephone collection callsrequirePetitionerto disclosepersonal

inform ation overthetelephoneto verify the Petitioneristruly thetargeted party, request

foridentification includesbutnotlim ited to aSocialSecurity N um ber;but,

915.        each callerfrom AIJRORA refusesto properly identify them selvesby use

oftheirwholenameandthelastfour(4)digitsoftheirSocialSecurityNumber.
916.        PetitionerhasunidentiGedpersonsarrivingatPetitioner'shome(monthly)
stating they were sentby A URORA to inspectPetitioner'sproperty and take

photographs.

917.        D efendantAUROR A isdem anding m oney in excessofwhatisacm ally

owed,intentionally misrepresentingtheamountowed,15USC 1692e j807(2)(a);and,
918.        DefendantAURO RA ispretending to be the Creditor;



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     919.        D efendantA U R O R A frequently w ith-held Petitioner'spaym entpastdue

     datesin orderto generate additionallate fees.



W H EREFO RE,PREM ISES CO NSIDERED ;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,andtheoccupantoftheOfficeofCEO and PRESIDENT
     ofAURORA,jointly orseverally forviolation oftheFAIR DEBT COLLECTION
     PRACTICES A CT,a strictliability Statute;award Petitioner,and otherAm ericans

     similarly situatedOne-Thousand ($1,000.00)foreach violationwith costsand fees,in
     an amountTrieroffactdeemsisjustand fair,determined atTrial.




                                (lntentionally leftblank)




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                                 C O IJN T X M I.
            VIOLA TION O F TELEPH O NE C ON SUM ER PR OTECTIO N ACT



     920.         Petitionerre-allegesand affirms!899 through and including !919ofthis
     Com plaintand incom orate sam ehere asifalleged anew.

     921.         DefendantAUROM received aD O N OT CALL letterand a requestfora

     copy ofA U R OR A 'S ççw ritten policy''form aintaining a ttdo notcall''list,w hich w as

     denied to Petitioner by non-com pliance,by non-response.

     922.         A URORA asa Third-partp Debt-collectorknowsorshould know calling

     Petitionerafterreceiving a DO N OT CALL letterisa violation ofTELEPH ONE

     CON SU NG R PROTECTION ACT.




W H ER EFOR E,PR EM ISES CON SIDER ED;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,and theoccupantoftheOfficeofCEO andPRESIDENT
     ofAUROM ,jointly orseverally forviolation oftheTELEPHONE CONSUM ER
     PR O TECTION A CT,a strictliability Statute;aw ard Petitioner,and otherA m ericans

     similarly situatedFive-Hundred ($500.00)forthefirsttwenty(20)callsand Treble
     Five-Hundred ($500.00)fortheremainder,withcostsand fees,in anamountTrierof
     factdeemsisjustand fair,determinedatTrial.



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                                        CO UNT W       II.
                 VIO LATIO N O F TH E FAIR CR EDIT REPO RTING A CT

     923.        Petitionerre-allegesandaffirms5899 through and including$922ofthis
     Com plaintand incorporate sam ehere asifalleged anew.

     924.        DefendantAURORA hasreported,and continuesto reportun-verifed

     informationtothefourmajorreporting agencies,Equifax,Experian Transunionand
     Innovis-

     925.        Petitioneroverthe pastthree years hms requested,m ore than once for

     A U R O R A to validate the debtitallegesto Service;

     926.        DefendantAU RORA iseitherunableorunw illingto do so;assuch,

     927.        Petitionerm aintainsD efendantAURORA hasand isknowingly reporting

     un-verified disputed financialinfonnation to the fourseparatereporting agencies

     m onthly;

     928.        eachmonthlyreportaseparateanddistinctviolation,timesfour(4).

W H ER EFO RE,PREM ISES CON SIDERED;PetitionerdirectsthisCourtforentry of

    judgmentagainstAUROM ,andtheoccupantoftheOfficeofCEO andPRESIDENT
     ofAURORA,jointly orseverally forviolation ofTl'lE FAIR CREDIT REPORTING
    ACT,astrictliability Stam te;aw ard Petitioner,and otherAm ericanssim ilarly sim ated

    One-Thousand($1,000.00)foreach un-veritied monthly report,filed with each oneof
    thefourreporting agencies,costsand feesin an amotmtTrieroffactdeemsisjustand
     fair,determ ined atTrial.

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                                     COUN T W      V.
                                     m IL FR AVD

929.         Petitionerre-allegesand affirm seach and every preceding paragraph ofthis

Com plaintand incorporate sam e here asifalleged anew .

                          18U .S.C.1341:Fraudsand sw indles;

            W hoever,having devised orintending to devise any schem e or
            artifice to defraud,or for obtaining m oney orproperty by m eans
            offalseorfraudulentpretenses,representations,orprom ises,or
            unlaw fuluse any counterfeit ...security,orother ...counterfeit
            orspurious article,forthe purpose ofexecuting such schem e or
            artifice orattem pting so to do,placesin any postoffice ...any
            m atterorthing whateverto be sentordelivered by the Postal
            Service,...shallbe fined underthistitle orimprisoned not
            m ore than 20 years,orboth.

930.        A URORA etaI.,hasdevised a schem ewhereby AUROR A affirm atively

im plies to possessthe capacity to m odify Petitioner's M ortgage-Loan,and others sim ilarly

situated,forafee;M tf rst,you willm akenew,affordablemonthlypaym entsonyour
m ortgage loan during a trlalperiod.J./y/v makethosepayment
                                                          ssuccessfully andfu@ ll
allTrialPeriodPlan conditions,wewillpermanentk mode yourm ortgageIoan.''
931.        Thisaffrm ative aforementioned quote isa false statem entoffact,and was

know n to be false statem entatthe tim e said statem entw as m ade;as,

932.        DefendantAURORA hmsno intentionofapplyingthese a...new,affordable
m onthlypaym ents on yourm ortgage loan...''asPetitioner'sM ortgage Loan,and others

sim ilarly situated,isalleged to be in default,acceptxnce ofpaym entthereon wavesdefault;




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933.          TrialPeriod Plan paymentts)madeby Petitioner,andotherssimilarly
situated,willbetaken fortheexclusivebenefitand enjoym entofAURORA'Sbottom -line,
or/and A U R O R A 'S parent,notthe registered beneficiary;

934.         norispaym entapplied againstM aker'sM ortgage-N o'rE balance,asthe

im plied assum ption found w ithin the foregoing assertion suggests.

935.         D efendantA U RO M      can notm odify M aker's M ortgage Loan,as the

occupantofthe O ftk e ofCEO and PRE SID EN T ofA U R O R A know orshould know

AUROR A lacksBeneficial-lnterestthereto;ergo,
              $ç
936.           .. .   wewillpermanentk mode yourmortgageloan.''isafraudulentfactum
asAURORA can notm odify thatwhich itdoesnotown;assuch,

937.         statementts)found in tçExhibitN''heretoattached,isan attemptto induce
Petitioner,orotherssim ilarly situated,into acting in such am annerasto cause financial

injuryto Offeree,enriching AURORA etal.kbecause,
938.         A U RO R A lacksthe legalcapacity to enforce Petitioner's M ortgage-Loan;as

such,

939.         AU RORA isusing the m ailin attempting to deceive Petitionerand others

sim ilarly situated,into re-contracting anew ,this tim e w ith A U R O R A directly;or,

940.         A U R O R A is offering Petitionerthe          program w hich is outside the

purview ofA U R O R A to adm inister;




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941.         14AM P hasnothing to do w ith AUROM ,outsideofAU RORA acting in

capacity ofa governm entagentoffering a seem ingly beneficialprogram in assistxnce to a

Borrow er,as the alleged Servicer ofsaid debt;but,

942.         M ailreceived by Petitionerfrom K ahrlW utscherLLP provided Petitioner

w ith        and non-         application docum ents,requesting Petitionerto tilloutthe

Form sw ith allsupporting docum ents,and return sam eto that1aw Firm directly,writes,

943.         #;rf-eisoftheessence.Aurorawillnotposfpoaeorsuspendforeclosure
proceedings,l aay,whlleitwaitsyourdelivev ofa completedloan mod@ cation
application.''ïem phasisJ##e#1SeetçExhibitM ''hereto attached,M ailFraud;because,

944.         D efendant,occupantofthe O ffice ofCEO and PRESID EN T ofA U RO R A

know sAUROR A ism erely the Servicerofthe alleged debt,withoutright,titleorinterest,

therefore can notlegally enforce a foreclose Action Standing on itsown;furtherm ore,

945.         A U R O R A is notthe R eal-partp in-lnterestand lacksthe capacity to m odify

Petitioner'sdebt,orthedebtofotherAmericanssim ilady situated;also,

946.                being a govem m entsponsored program ,AUROR A'Spm icipation

therein requiresAUROR A to actin accord with itslegalduty and properly identify itselfto

O fferee asthe Servicer,acting in a representative capacity,for som e undisclosed party;

947.         A IJRO R A ,the Servicer offering to M odify Petitioner's M ortgage-Loan,and

theM ortgage-Loan ofotherAm ericanssim ilarly situated,isam atteroffraudulentfactum ;




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     948.        A U R O R A threatening to foreclose in lieu ofO fferee executing a so called

     M ortgage-Loan-M odification isM ailFraud,asAUROR A lacksenforcem entauthority.


W H EREFO RE,PREM ISES CO NSIDER ED ;PetitionerdirectsthisCourtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOffkeofCEO and PRESIDENT of
     A URORA,w ith im puted knowledge,ofM ailFraud.




                                         CO UNT XXV.
                                        W IR E FM UD
     949.        Petitionerre-allegesand affirm seach and every preceding paragraph ofthis

     Com plaintand incorporate sam e here as ifalleged anew .

     950.        Thecrimeofwirefraud iscodifed at18U .S.C.j 1343,andreads,inpartas
     follow s:


                 W hoever,having devised orintending to deviseany schem eor
                 artifice to defraud,orforobtaining m oney orproperty by m eans
                 offalseorfraudulentpretenses,representations,orprom ises,
                 transm itsorcausesto betransm itted by m eansofw ire,radio,or
                 television com m unication in interstate orforeign com m erce,
                 any w ritings,signs,signals,pictures,orsoundsforthe purpose
                 ofexecuting such schem eorartifice,shallbe tined underthis
                 titleorim prisoned notm ore than 20 years,orboth.Ifthe
                 violation affectsa financialinstitution,such person shallbe
                 Gned notm orethan $1,000,000 orim prisoned notm orethan 30
                 years,orboth.




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951.        PursuanttoNederv.Uaitqd St
                                     tate,(527U.S.1,23,decided in 1999),the
allegedmisrepresentationto supportaconviction under18U.S.C.j 1343mustbea
m aterialm isrepresentation;a m isrepresentation ism aterialifitiscapable of

intluencing,orhasa ttnaturaltendency''ofintluencing.To com m itwire fraud,one m ust

(1)devise,orintendto devise,aschemeorartificetodefraud anotherpersonon the
basisofamaterialrepresentation,and (2)doitwith theintentto degaud,and(3)do it
through theuseofinterstatewirefacilities(i.e.telecommunicationsofany kind).
952.        Prem isesconsidered,A URORA appearing asH older-in-D ue-course in

CA SE N o.07-80998-CIV -R Y SKA M P /V ITUN A C ,IN Tlv U M TED STA TES

D ISTRICT COURT FOR TIIE SOUTHERN DISTRICT OF FLORIDA,Action

com m enced October22nd2007;then,

953.         filing suitasthe Real-partp in-lnterestin CA SE N o.50-2009-CA -017057-

X XXX-M B,IN Tlo CIRCUIT COURT OF THE FIFTEEN TH JUDICIA L CIRCUIT,

IN A r   FO R PA LM B EA CH CO U N TY ,FLO R ID A ,M ay 15th2009, affirm atively

avening to be the H older and O w nerofPetitioner'sM ortgage-N o 'rE is a m aterial

m isrepresentation tendered to influence Petitionerand otherssim ilarly situated,

includingthejusticesystem ;wherebyprivately,
954.         D efendantA U R O R A freely adm ititis m erely the ServicerforLEFIM AN

BROTHERS HOLDINGS IN C,non-party,who isin facttheReal-partp in-lnterest(sic),
the realOwnerand Holderofthe debt,disclosed in the yearof2010;how ever,



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955.         Palm Beach County'sPublic Recordsidentify AUROM            asM ortgagee of

record in the year of2009.

956.         A UR O R A telephoning Petitionerorother A m ericans sim ilarly sim ated,

from withoutthe State ofColorado,whereby AUROR A isdem anding m oney in lieu of

AURORA foreclosing on M aker'sproperty in-which DefendantAUROR A hasno legally

cognizable enforceable rightto foreclose,is W ire Fraud;

957.         eaCh inter-state telephone callfrom D efendantA U RO R A , since June 5th

2008,dem anding m oney orproperty from Petitioner,m oney orproperty in-which

DefendantAURORA hasno legally enforceable rightto,dem anding said m oney in lieu

ofAURORA foreclosingPetitioner'sproperty,(athreatitcannotlegally enforce,but
did attempt)isanActofW ireFraud;furthermore,
958.         each electronic Fax-slim ily transm ission by telecom m unication w ire,oruse

Ofthe intem et,inter-state,contentdisplaying an A ssignm entfrom M ERSO to AURORA ,

w hereby the A ssignorisLEH M AN BR O TH ER S BA N K FSB ,and said A ssignm entis

executed, subsequently recorded afterSeptem ber 15tb2008,each such foregoing

transm ission isadistantand separate ActofW ireFraud.

959.         A U RO R A offering Petitioneror others sim ilarly situated representation

w hereby A U R O R A im plies by pretence or otherw ise itcan perm anently m odify

recipient'sM ortgage-Loan,transm itted by w ire,destination w ithoutthe Stateof

Colorado isW ireFraud,supra.



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W H ER EFO R E,PR EM ISES C O N SID ER ED ;Petitionerdirects this Courtforentry of

     judgmentagainstAURORA,andtheoccupantoftheOfficeofCEO andPRESIDENT of
     AURORA,with,orwithoutimputedknowledge,jointly,orseverally ofW ireFraud.




                                       C O U N T X X V I.
        M ER S* R ACK ETEER IN FLV :NCEP ANp CO RRUPT O RG ANIZATIO N



     960.         Petitionerre-allegesand affirms!226throughandincluding!291ofthis
     Complaintand incom orate snm e here asifalleged anew .


     961.         M ERSCORP HOLDING S,IN C,wascreated by thebanking industry to

     facilitate securitization;


     962.         M ERSCORP and M ERS* w ascreated w ith dolusm alus, to in parq skirt

     state law sby creating an artifice,designed to avoid paying the Cotm ty'sTransferTax;


     963.         M ER S*and M ERSCORP are foreign to the State ofFlorida, and foreign to

     m oststatesofthe union;

     964.         The sole shareholderofG RS* isM ERSCORP HOLD IN GS, IN C;




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965.         DEFENDANT etal.,jointly andseverally eithercreatedM ERSCORP and
M ERS*, or supportM ERS* orisem ploying M ERS* to illegally seize Petitioner's

property,and those ofother A m ericans sim ilarly situated,as an ongoing com zpt

businessenterprise,in operationoverten(10)years;and,

966.         M ERSCORP receivesmorethan Five-M illion ($5,000,000.00)in gross
receiptsfrom operatingM ERS* in anytw o given years ofoperation;see 18 U S.C.j .




225.


967.         < R S*M em bers can literally record beneficialinterestin any targeted

property,w ith,orw ithoutacm alpossession,using privately held Superior-Know ledge.


968.         H ad M ERS* notfabricated a bogusAssignm entin CaseN O . 07-80998-

CIV-RY SK AW     /VITUNA C,AUROR A w ould nothavepaid the lRS One-H undred-

Fifty-Thousand ($150,000.00),ifnotfordiscoveryofsomeirregularityby theIRS;

969.        H ad M ERs* notfabricated a colorable Assignmentin CaseN O 09-CA-
                                                                           .




017057,Foreclosure proceeding could notcom m ence againstthisPetitioner;


970.        TheLAW OFFICE OF DAVID J.STERN P.A . eta1.,representing

AURORA,served Petitionerwith alegalaction with the expressed intentofdepriving

Petitionerofproperty,orotherssim ilarly situated,facilitated exclusively by the

fabrication ofa M ER S* A ssignm ent;



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971.        B oth M ERS* A ssignm ents is executed by an em ployee ofA U R OR A .


972.        ln re A gard,8-10-77338-reg,U .S.B anknzptcy C ourt,Eastem D istrictof

New York Centrallslip (2-10-2011),theHonorableJudgeGrossmanwrote.


            Glhis Courtdoes notacceptthe argum entthatbecauseM E Rs m ay
            beinvolved with 50% ofallresidentialmortgagesin thecountry,
            thatisreason enoughforthisCourtto turn ablinde-petothefact
            thattkisprocessdoesnotcomp# with theIaw.''

            Gsection 6ofRule2statesthat<% f#x$'shallatalltim esc/- /.y
            with :Aeinstructionsoftheholderofm ortgageloanprom issory
            notes,'butthisdoesnotconferany spec@ cpowerorauthoriy to
            M ER S''.

            O ecl- eM ERS'Smembers,thebene# cialnoteholders,purported
            tobestow upon M EM interestsin realprope, sum cientto
            authorizetheassignmentsofm ortgage,thealleged Jgeacy
            relationshlp - = /becommittedto writing by application ofthe
            statuteofp auds''.
973.        The H onorable Judge G rossm an w enton to say,thatthe m em bership

agreem entw asn'tenough to assign the M ortgage and thatto do so the lenderw ould have

to givepow erofattom ey orsim ilarauthority to M ERS'.

974.        M ERS*,asN om inee, isacting asaquasiagentofitsprincipal,forlim ited

purposes,and hasonly those pow ers w hich are conferred to itand authorized'
                                                                           ,




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975.         Borroweracknow ledging and consenting to M ERS* acting asN om inee of

the Lenderhasno bearing on whatspecific powersand authority theLendergranted

M ER S*.


976.         Theproblem isnotwhethertheBorrowercan objecttotheAssignees'
standing,butwhetherthe originalLender,who isnotbefore theCourq actually

transferred itsright,title and interestto A U R O R A,w hile in B ankruptcy;furtherm ore,


977.         A ccepting M ER S'* position thatthe Lender acknow ledgesM ER s'*

authority to exercise any orallofthe Lenders'rights tm der the M ortgage,the M ortgage

doesnotconvey to M ER S* the specific rightto A ssign the M ortgage, northe N O TE.


978.         Thegenerallanguage Gtotakeany action requiredoftheLenderincluding,
butnotIim ited to,releasing and canceling this Security Instrum ent''is notsufticientto

give the N om inee authority to alienate orA ssign a M ortgage w ithoutgetting the

M ortgagee's explicitauthority forthe particularA ssignm ent,in w riting.


979.         A lienating a M ortgage absent specific authorization isvoid,as the alienation

ofa m ortgage isnotan adm inistrative act.


980.         M ERSCORPjoinedwith M ERS*hmsfailedto exerciseappropriate

oversight,m anagem entsupervision and cop orate govem ance,by design,in the opinion

ofPetitioner-
            ,

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981.         M ERSCORPjoined withM ERsfhasfailedtoprovideitsM emberslegal
resourcesto ensureproperadm inistration and delivery oflegaldocum ents;


982.        M ERs*hasfailed to establish and m aintain adequate intem alcontrols, and

reporting requirem entsensuring M em bersrecord each kansaction,and when theN OTE

ispurchased ortransferred to aN on-M em ber,asisthecase herein,theM ortgage must

also beassigned,which isnotdone,bifurcating theN OTE and M ortgage.


983.        Thislack ofcom orate govem ance and supervision hasprovided Defendant

A U R O R A a conduitthrough w hich itis attem pting to com m itan A ctofLarceny;


984.        an A ctA UR OR A could notaccom plish ifnotforthe artifice ofM ER S*

which isdesigned to intentionally orotherwise obfuscate the identity ofthe Real-party-

in-lnterest;w hereby,


985.         obfuscate thetrue identity oftheReal-partp in-lnterestsecm itization ofthe

N OTE takesplaceundertheBorrow er'sradar;as,


986.        M ER S* rem ainsM ortgagee ofPublic Record.


987.        W here a com orate entity is created fora fraudulentpurpose,orto sabotage

orunderminethejudicialprocessor/andtheadministration ofjustice,thecorporate



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     form willbedisregarded andtheshareholdersaresubjecttotheimpositionofindividual
     liability.


     988.         The RR.I.C.O.violation''by which thisPetitionerhasStanding,and others

     similarlysituated,istheschemeitsel: onceithasbeen establishedthattheschemeisof
     the typeproscribed by R .I.C.O.


     989.         Forthis schem e to qualify as R .I.C .O .the m ailor w ires m usthave been used

     in furtheranceofitsobjectives;Petitionerhasstanding astheinjuredparty ofthis
     schem e,asdo otherAm ericanssim ilarly situated,even iftheuse ofthem ailorw iresis

     incidentaland didnotdirectly causetheinjury.SeeBrideev.Phoenix Bond
     & lndemnitvCo.,128 S.Ct.2131(2008).

W H ER EFO R E ,PR EM ISES C O N SID ER ED ;Petitionerdirects this Courtforentry of

     judgmentagainstM ERSCORP,andM ERS*jointly orseverallyforoperation of
     R A CK ETEER IN FLU EN CED Ar         CO RR U PT O RG A M ZA TIO N ;snding in the

     A ffirm ative,disgorge these D efendant's ofa1lill-gotten-gain w hereby A U R OR A has

     taken property from a B orrow er,or w hereby A U R O R A is attem pting to take property

     from Bolw w er, evidenced by an A ssignm entfrom < R S* as N om inee forLEH M AN

     B RO TX R S BA N K FSB after Septem ber 15tb2008 and up to a yearprior;aw ard

     Petitioner,and otherA m ericans sim ilarly situated the face value oftheirN O TE in

     treble,or/and aw ard Petitioner and others sim ilarly situated,actualdam ages under 18

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U .S.C.jj 1962and 1964,compensatorydamages,generaldamages,or/andpunitive
dam ages;O rderA U RO R A to retum a11the rentpaym ents collected to D onor,orH eir of

theestate,with costsand fees,in an amountTrieroffactdeem sisjustand fair,
determ ined atTrial.



                          C O IJN T U V II.
 AURO R A R ACK ETEER INFLUEN CED AN D CO RRU PT O RG AN IZA TIO N


990.        Petitionerre-allegesand affirm seach and every preceding paragraph of

this Com plaintand incorporate snm e here as ifalleged anew .

991.        AURORA established in theyearof1997 generatesm ore than Five-M illion

($5,000,000.00)in revenueinany giventwentp four(24)month periodofoperation,see
18U.S.C.5225;and,
992.        AURORA isinBusinessoverten (10)years;
993.        finding AU RORA isthe ServicerofPetitioner'salleged debt,and the Servicer

ofdebtofotherA m ericans sim ilarly situated;w hereby,

994.        AURORA com esinto Courtpretending to betheReal-partp in-lnterest,when

in factitknow s,orshould know AUROR A isnottheReal-partp in-lnterest;tinding,

995.        M ER S* A ssignm entto A U R OR A isthe clinch-pin, ifa considerable volum e

ofA ssignm ents are executed, subsequently recorded aAer Septem ber 15th2008,is evidence

ofan ongoing com zptbusiness practice,going back how far isin question.



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      996.         Petitioner allegesA U R O R A is actively pm icipating in a R ACK ETEER

      INFLUENCED and CORRUPT ORGAM ZATION type activity;


      997.         The ttR.I.C.O .violation''by which thisPetitionerhasStanding,and other

      Am ericanssim ilarly situated,isthe schem e itself,once ithasbeen established thatthe

      schem e is ofthe type proscribed by R .I.C .O .


      998.         Forthis schem e to qualify as R .I.C .O .the m ailor w iresm usthave been used

      in furtheranceofitsobjectives;

      999.         Petitionerand otherssimilarly situated hold standingasaninjuredpartyof
      thisschem e,even ifthe useofthe m ailorw iresisincidentaland did notdirectly cause

      theinjury.SeeBrideev.PhoenixBjmd &lndem nitvCo.,128S.Ct.2131 (2008).


W H ER E FO R E ,PR EM ISE S C O N SID ER ED ;Petitionerdirectsthis Courtforentry of

     judgmentagainstAUROM foroperating aRACKETEER INFLUENCED M D
      CO RR UPT O RG A M ZA TIO N ;finding in the A ftirm ative,disgorge D efendantofa11

      ill-gotten-gain whereby AURORA hastaken property from aBorrow er,orw hereby

     AUROM       is attem pting to take property from a B orrow er,evidenced by an A ssignm ent

      from W R S* asN om inee for LEH M AN BR O TH ER S B A N K FSB after Septem ber 15tb

      2008 and up to ayearprior;award Petitioner,and otherAm ericanssim ilarly situated

     the facevalue oftheirN OTE in treble,or/and award Petitioner,and otherssim ilarly

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situated,actualdamagestmder18U.S.C.jj 1962and 1964,compensatorydam ages,
generaldam ages,or/and punitive dam ages;O rderA U R OR A to rettu'n allthe rent

paym entscollected to Donor,orHeiroftheestate,w ith costsand fees,in an am ount

Trieroffactdeemsisjustand fair,determinedatTrial.




                                   COU NT XXW II.
                           FR A IJD U L EN T IO U C EM E N T


1000.          Petitionerre-allegesand afGrmseach and every preceding paragraph of

thisCom plaintand incom orate same here asifalleged anew .

1001.          DefendantAUROM andthelaw firm KahrlW utscherLLP havejointly
and AURORA severally m adeoffersto çtM odify''Petitioner'sM ortgage-Loan;

1002.          D efendantA UROR A and co-conspiratorthelaw 51111KahrlW utscherLLP

know ,orshould know ,AUROM         can notm odify thatw hich AU RORA doesnotown,

nOrPOSSWSS;

1003.          lfitisshow n AURORA did notlegally ow n,hold orpossesssaid

M ortgage-No'rE ab initio,then Petitionerisbeing Fraudulently lnduced into acting in

such amannerasto causePetitionerfinancialinjury,whileunjustly enriching
A U RO R A ;




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1004.         A U RO R A know s,or should have know n,itw as neverthe R eal-party-in-

lnterest,supra,and assuch,to becom etheReal-partp in-lnterestm ustacquire

Petitioner'sacceptance,byway ofthe itnew -deal,''underthe guiseofLoan-M oditk ation;

1005.        AURORA hasconfessed itisnotin possession ofthe genuineN OTE;

1006.        OriginalLenderisLEI'
                                IM AN BROTHERS BAN K FSB ,in Bankruptcy;

1007.        ltis notlegally possible to m odify Petitioner's presentM ortgage-Loan,and

AUROM       know sthatto betrue,orshould know sam e;

1008.        H oweverAUROR A w illacceptareduced m onthly paym entw hilethe so

called içM odification''isprocessed;how ever,

1009.        M oniesaccepted by AURORA during thism oditk ation period go rightto

AURORA'Sbottom line,asthe debtisalleged to bein default;

1010.        Trustee collectson instlrance once Defaultisduly declared,custom arily

defaultisdeclared afterninety(90)dayshaspassedwithoutpaymentfrom Borrower;
1011.        AUROR A knows,orshould haveknow n,itsofferto M odify Petitioner's

M ortgage-Loan isa veiled attem ptto refinance '101the property, by the Servicerwith a

ten ($10.00)investment,6....andothergood and valuableconsideration'h



1101          TitleXXXIIISection 9500.177Penalty forviolation ofs.500.04;dissem ination of
falseadvertisement.- (1)Anypersonwhoviolatesany provision ofs.500.04isguiltyofa
m isdem eanor ofthe second degree,punishableasprovided in s.775.082 or s.775.083;actual
damagesifinbad faith;injunction;declatoryjudgmentthatactisviolation (j501.207).willful
unfairtrade practicesin any industc m ay resultin up to $10,000 civilpenalty foreaeh
violation;reasonableattorney'sfeesand costs(9501.2075).

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     1012.         AUROR A know s,refnancing the debtw ould w ipe-outa1lthe pastsins;

     1013.         A U R O R A to im ply itis in a position to m odify Petitioner'sM ortgage-

     NOTE Itte e1111wanttomakem odp ingyourmortgageIoan aseasy aspossible.'')isa
     fraudulentfactum ,know n to be false atthe tim e said statem entw asm ade;

     1014.         A U R O R A has found a protitcenter,selling the illusion ofM ortgage-Loan

     M odiscation ofM ortgage-Loansitdoesnotow n,foram onthly fee,while AUROR A

     investigatesBorrower'seligibility;

     1015.         StatisticallythegreatermajorityofHome-ownersthatcomply with all
     term sand conditionsand m ake a11them onthly paym entson tim e during the tçwork-out

     period''are denied M ortgage-Loan M oditk ation,because A U R OR A can notm odify

     thatwhich itdoesnotown,norwhich AUROR A can acquireon thesecondary m arket.


W H EREFO RE,PREM ISES CO NSIDERED ;PetitionerdirectsthisCourtforentry of

    judgmentagainstAURORA,andtheoccupantoftheOftkeofCEO andPRESIDENT of
     AURORA forFraudulentlnducement;fnding in the Affirm ative,aw ard Petitioner,and

     other A m ericans sim ilarly situated return oftheirrespective N O TE,or/and aw ard actual

     dam ages,com pensatory dam ages,generaldam ages,or/and punitivedam ages;Order

     AURORA to return alltherentpaym entscollected to D onor,orH eirofthe estate,with

     costsandfees,inan amountTrieroffactdeemsisjustand fair,determined atTrial.



     1111n ew ord iiw e''m eans A UR O R A LO A N SER VIC ES LLC .


    KORM AN vAUROM efal.                    Page200 of233
